
662 S.E.2d 556 (2008)
STATE
v.
Byron Lamar WARING.
No. 525A07.
Supreme Court of North Carolina.
April 23, 2008.
Mary S. Pollard, for Waring.
Doug Faucette, Robert Montgomery, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 17th day of April 2008 by Defendant for Extension of Time to Serve Proposed Record:
"Motion Allowed. Defendant shall have up to and including the 1st day of October 2008 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 23rd day of April 2008."
